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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO
                             Judge Regina M. Rodriguez


Civil Action No. 22-cr-00018

UNITED STATES OF AMERICA,


v.

OSCAR DURON-DE LUNA,

       Defendant.


                                         ORDER



       This matter is before the Court on the Defendant’s Motion to Dismiss the

Indictment, ECF 25. The Government has responded to the motion, and the Defendant

has replied. The Court ordered additional briefing on the motion, at ECF 32. Supplemental

briefing was filed at ECF Nos. 35 and 37. The matter has been fully briefed and is ripe for

review. For the following reasons, the Defendant’s motion is DENIED.

                                 I.     BACKGROUND

       The Government charges the Defendant Oscar Duron-De Luna with one count of

illegal reentry of a removed alien in violation of 8 U.S.C. §1326(a). The indictment alleges

that the defendant is an alien who “was found in the United States after having been

denied admission, excluded, deported, and removed from the United States on or about

April 14, 2021, and without the express consent of the proper legal authority to reapply
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for admission to the United States.” ECF 1. The indictment also contains a notice of

enhanced penalty pursuant to § 1326(b)(1), alleging that the Defendant’s “denial of

admission, exclusion, deportation and removal was subsequent to a conviction for a

felony offense.” Id.

       The Defendant has filed a motion to dismiss the indictment against him. The

Defendant argues that 8 U.S.C. § 1326 is unconstitutional because it violates the

Constitution’s guarantee of equal protection.

                               II.    LEGAL STANDARD

       The Fifth Amendment provides that “[n]o person shall ... be deprived of life, liberty,

or property, without due process of law.” U.S. Const. amend. V. This clause contains an

implicit guarantee of equal protection in federal laws identical to what the Fourteenth

Amendment guarantees in state laws. See Sessions v. Morales-Santana, 137 S. Ct.

1678, 1686 n.1 (2017). Thus, both the Fourteenth Amendment and the Fifth Amendment

contain equal protection guarantees. See Buckley v. Valeo, 424 U.S. 1, 93, 96 (1976)

(noting that the “[e]qual protection analysis in the Fifth Amendment area is the same as

that under the Fourteenth Amendment.”). These protections extend to individuals charged

with violating section 1326. Plyler v. Doe, 457 U.S. 202, 210.

       Under the Fifth Amendment's equal protection guarantee, a law can violate equal

protection in three ways: (1) a law can discriminate on its face (see, e.g., Loving v.

Virginia, 388 U.S. 1 (1967)); (2) authorities can apply a facially neutral law in a

discriminatory manner (see, e.g., Yick Wo v. Hopkins, 118 U.S. 356 (1886)); or (3) a

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legislature may enact a facially neutral law with a discriminatory purpose in a way that

disparately impacts a specific group (see, e.g., Village of Arlington Heights v. Metropolitan

Housing Development Corp., 429 U.S. 252 (1977)). The Defendant here argues that

section 1326 violates his right to equal protection as specified in Arlington Heights, and

he asks the Court to apply the strict scrutiny framework set forth for analyzing alleged

equal protection violations therein.

       The Government argues that the standard set forth in Arlington Heights does not

apply. Instead, the Government argues, the Court need only apply rational basis review.

In so doing, the Court need only determine whether section 1326 is rationally related to

any legitimate government interest.       The Government argues that “[t]he expansive

Arlington Heights inquiry is antithetical to the long-standing principle that, regarding

congressional immigration policy, it is ‘not the judicial role … to probe and test the

justifications for the legislative decision.’ [] There is no probe more exacting than Arlingotn

Heights, which invites inquiry into ‘circumstantial and direct evidence of intent,’ the

‘historical background of the decision,’ the ‘specific sequence of events leading up to the

challenged decision,’ and the ‘legislative or administrative history.’” ECF 28, p. 14 (internal

citations omitted).

       The Supreme Court has held that, because the Fifth Amendment's focus is

persons rather than citizens, non-citizens present in the United States are entitled to the

Fifth Amendment's protections. See Zadvydas v. Davis, 533 U.S. 678, 690 (2001)

(holding that non-citizens present in the United States are entitled to the protection of the


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Fifth Amendment). When considering this precise issue in United States v. Sanchez-Felix,

Chief Judge Brimmer observed that “[O]nce an alien arrives in the United States and

begins establishing ties to the country, the [Supreme] Court has recognized certain

constitutional protections extend to those persons, even if their presence is ‘unlawful,

involuntary, or transitory.’ ” United States v. Sanchez-Felix, No. 21-CR-00310-PAB, 2021

WL 6125407, at *2 (D. Colo. Dec. 28, 2021) (citing California v. Dep't of Homeland Sec.,

476 F. Supp. 3d 994, 1018 (N.D. Cal. 2020)). As a result, courts have noted that there is

a distinction between cases that concern “the political branches’ authority to decide who

to admit to the United States” and those that concern the government's “authority over

noncitizens already present.” Id. (citing United States v. Machic-Xiap, 2021 WL 3362738,

at *9 (D. Or. Aug. 3, 2021)).

       “In light of the distinction between non-citizens present in the United States and

those outside the borders,” Judge Brimmer determined that “the government is mistaken

that § 1326 should be reviewed under the rational basis standard.” United States v.

Sanchez-Felix, at 3. Because § 1326 applies to aliens who are already in the United

States, the government cannot entirely rely on Congress’ plenary power doctrine to

uphold the statute. Id. This Court agrees with the Chief Judge’s analysis and ultimate

conclusion and finds that Arlington Heights applies to the Defendant’s challenge.

       A.     Arlington Heights

       Under Arlington Heights, the Defendant must establish by a preponderance of the

evidence that racial discrimination was a substantial motivating factor in the adoption of


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the statute. Arlington Heights, 429 U.S. at 266. Under Arlington Heights, a court considers

both whether a law disparately impacts a particular group and whether that law was

enacted with a discriminatory purpose. Id. “Determining whether invidious discriminatory

purpose was a motivating factor demands a sensitive inquiry into such circumstantial and

direct evidence of intent as may be available.” Id. To determine discriminatory intent, the

Court considers all direct and circumstantial evidence, including the historical background

of the decision, the specific sequence of events leading up to the challenged decision,

and the legislative or administrative history. Id.

       If the Defendant meets his burden of establishing that racial discrimination was a

substantial motivating factor, the burden shifts to the Government to establish that “the

same [governmental] decision would have resulted even had the impermissible purpose

not been considered.” Id. at 270 n.21.

                                     III.    ANALYSIS

       A.     Disparate Impact

       Whether the impact of an official action disparately impacts one race may provide

an important starting point in the Arlington Heights analysis. Id. Disparate impact is

established where the law’s impact “bears more heavily on one race than another.” Id.

The Defendant argues that section 1326 meets this test because it disparately impacts

one race, Latinxs. The Defendant argues that “Latin-Mexican nationals” comprised

between 85 and 99 percent of defendants in unlawful reentry prosecutions under the

Undesirable Aliens Act of 1929 and “the disparate impact upon Mexicans and other

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Latinos has not shifted in the intervening decade, including after congress enacted

section 1326.” ECF 25, p. 11.

       The Defendant has cited to evidence that, since 2005, 99.45% of defendants

charged with at least one count of a violation of section 1326 were from Latin America,

and 96.64% were Hispanic. ECF 25-16, Table 1. In 2020, over 99.11 percent of those

convicted of illegal reentry were considered Hispanic.

       The Government argues that the high percentage of illegal reentry prosecutions of

Mexican and Latin American defendants is not proof of disparate impact and

discrimination because "[t]hose numbers are a product of geography, not discrimination.”

ECF 28, p. 20. The Government here relies on DHS v. Regents of the Univ. of Calif., 140

S. Ct. 1891 (2020). Chief Judge Brimmer also addressed this issue, explaining that

        Although the Supreme Court in Regents acknowledged that the Deferred Action
       for Childhood Arrivals (“DACA”) recipients alleged the “disparate impact of the
       recission [of DACA] on Latinos,” the Court held that, “because Latinos make up a
       large share of the unauthorized alien population, one would expect them to make
       up an outsized share of recipients of any cross-cutting immigration relief program.
       . . . Were this fact sufficient to state a claim, virtually any generally applicable
       immigration policy could be challenged on equal protection grounds.” [] While
       Regents does not foreclose defendant’s disparate impact argument, it does
       indicate that disparate impact is not sufficient for his equal protection claim.
See Sanchez-Felix, 2021 WL 6125407 at *10. The Chief Judge further observed “[i]n

Arlington Heights itself, the Court found that zoning restrictions limiting the building of low-

cost housing may have disparately impacted African Americans, even though the impact

was disparate because African Americans were disproportionately represented among

those eligible for low-cost housing.” Id. Judge Brimmer thus concluded that, under

Arlington Heights, “disparate impact is not eliminated because the government may later
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show a race-neutral explanation.” Id. at * 11. This Court agrees, and the Government’s

geography argument is thus not determinative of the issue of disparate impact.

       The Defendant has also cited to evidence that, while Mexicans, Hondurans,

Salvadorans, Guatemalans, Colombians, Brazilians, and Venezuelans made up 66.9%

of the unauthorized population in 2018, they made up 97.67% of section 1326 defendants.

This evidence further undermines the Government’s argument that geography alone

accounts for the disproportionate impact.

       Based on the evidence identified by the parties, the Court finds that the statute

“bears more heavily on one race than another.” As such, the Defendant has established

disparate impact.

       B.     Discriminatory Intent

       Proof of disparate impact alone, however, is not dispositive. Under Arlington

Heights, the Defendant must also establish that section 1326 was enacted in part to due

to racial animus. In analyzing discriminatory intent, the court considers all direct and

circumstantial evidence that may indicate Congress’s motivations, including the historical

background of the decision, the specific sequence of events leading up to the challenged

decision, and the legislative or administrative history.

       The challenged statute here, section 1326, has a long history. The statute was

originally enacted as part of the Undesirable Aliens Act of 1929. The statute was later

reenacted as part of the Immigration and Nationality Act, in 1952. The parties dispute the

importance of the 1929 act. The Defendant argues that the 1929 act is relevant to—if not


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dispositive of—the issue of discriminatory intent. The Government argues that the statute

at issue here was enacted in 1952, and the 1929 statute therefore is not relevant.

       As set forth in greater detail, infra, the Court finds that the 1929 Act is relevant to

this Court’s analysis of discriminatory intent. So too, however, are all of the circumstances

and actions surrounding the 1952 reenactment. Upon review of all of the evidence, the

Court finds that the Defendant has met his burden of establishing by a preponderance of

the evidence that racial discrimination was at least a motivating factor in the enactment

of section 1326. The Court will address the evidence presented by the parties and will

explain why each fact or group of facts indicates discriminatory or nondiscriminatory intent

(or is neutral).

                   1.       The Undesirable Aliens Act: 1929

       The reentry law, today section 1326, was originally enacted in 1929 as part of the

Undesirable Aliens Act. The Defendant argues that the totality of the circumstances

suggests that “racial animus was a, if not the, motivating factor in the criminalization of

reentry.” ECF 25, p. 15.

        The exhibits cited by the Defendant detail the racially discriminatory history and

motivations behind the 1929 law. The Declaration of Kelly Lytle Hernandez, Exhibit A,

describes the events leading to the passage of the 1929 Act. She explains that the

Undesirable Aliens Act of 1929 came on the heels of the National Origins Act of 1924.

With the National Origins Act, Nativists—many of whom endorsed the theory of

eugenics—sought to limit the number of certain unwanted immigrants into the United

States. This act specifically set forth a system of national quotas that limited the total
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number of immigrants allowed to enter the country each year. ECF 25-2, p. 4. “The quota

system constituted what historian John Higham described as a ‘Nordic victory’ by

narrowing the pathways of legal immigration to allow only a particular portion of the

world’s population to enter: 96 percent of all quota slots were reserved for European

immigrants.” Id.

      The National Origins Act, however, did not include a quota for Mexican

immigration. By the time of the passage of the National Origins Act, Western states had

become increasingly dependent on Mexican labor, and employers in the West thereby

opposed any quota that would cut their access to Mexican labor. Id. Over the next few

years, a series of bills were enacted to attempt to add Mexico’s migrant workers to the

quota system. Id. These proposed bills were rooted in racist and eugenicist ideology, with

bill proponents arguing that “[Mexican] amalgamation with our people will cause a general

weakening, physically and mentally, of our civilization.” ECF 25-8, 3.

      After the proposed bills were defeated by agribusiness employers, Senator

Coleman Blease, an outspoken white supremacist, introduced a compromise which would

eventually become the Undesirable Alien Act of 1929. Citing to the large number of

unauthorized border crossings made by Mexicans each year, Senator Blease proposed

criminalizing unlawful entry into the United States instead of focusing on quotas. ECF 25-

1, p. 8. The 1929 act was adopted to allow for “Mexican deportability” without interfering

with the American Southwestern need for Mexican labor for agribusiness. Hernandez

explains that the 1929 Act “was introduced into Congress as a measure to control and


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 punish unlawful Mexican immigrants, in particular.” ECF 25-1, p. 8. The Declaration of

 Benjamin O’Brien, Exhibit B, further identifies the racial motivations underpinning the

 1929 law. He explains that the debate around the Undesirable Aliens Act was driven by

 eugenicist narratives of racial inferiority. ECF 25-2, p. 12. Statements from proponents of

 the bill highlight the discriminatory underpinnings thereof. One farmer and lobbyist

 explained to congress that “We, in California, would greatly prefer some set up in which

 our peak labor demands might be met and upon the completion of our harvest these

 laborers returned to their country.” ECF 25-2, p. 7. Rep. John Box, another proponent of

 the bill, viewed the goal of immigration law as “the protection of American racial stock

 from further degradation or change through mongrelization.” ECF 24, p. 19. Albert

 Johnson, the chairman of the House Immigration and Naturalization Committee, had

 preciously admitted into the congressional record a letter from a constituent urging

 legislators to keep out “the scoff and scum, the mongrel, the bootlegger element from

 Mexico.” ECF 25-7, p. 30. Prior to the passage of the 1929 Act, the Committee heard

 from prominent eugenicist Dr. Laughlin, who advocated for deportation of the “undesirable

 individual” because otherwise “we cannot get rid of his blood no matter how inferior it may

 be, because we cannot deport his offspring born here.” ECF 25-6. During the debate on

 the bill, congressman stated that Mexican immigrants were “poisoning the American

 citizen,” that they were “undesirable,” and that they were “objectionable as immigrants

 when tried by the tests applied to other aliens.” ECF 25-13, p. 8. The evidence presented




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 by the Defendant convinces this Court that the Undesirable Aliens Act of 1929 was

 undoubtedly substantially motivated by racism.

                    2.       Adoption of the Immigration and Nationality Act of 1952

        The Undesirable Aliens Act, however, is not the specific law at issue before this

 Court. In 1952, Congress consolidated the country’s immigration laws by passing the INA

 (also known as the McCarran-Walter Act). Under the INA, the Undesirable Alien Act’s

 criminalization of reentry provision became 8 U.S.C. § 1326. The version of the statute

 included in the INA was nearly identical, except that the 1952 enactment expanded the

 class of non-citizens eligible for prosecution to include those excluded as well as

 deported.

                      a.     Relevance of 1929 Statute

        The Court is thus faced with its first dilemma—To what extent, if any does the

 discriminatory thrust of the 1929 law impact this Court’s analysis under Arlington Heights

 given that the law was reenacted in 1952? The Defendant asks the Court to find the

 evidence dispositive. The Government asks the Court to find the evidence irrelevant.

 Neither party is entitled to the sweeping ruling requested.

        The Defendant directs the Court to Hunter v. Underwood, 471 U.S. 222, 233

 (1985). In Hunter, the Supreme Court considered a challenge to an Alabama

 Constitutional provision disenfranchising those convicted of crimes involving “moral

 turpitudes.” The Court determined that discrimination against African Americans was a

 motivating factor in the adoption of the provision. Appellant’s counsel argued that,

 regardless of the original purpose of the provision, “events occurring in the succeeding
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 80 years had legitimated the provision…[because] the more blatantly discriminatory

 selections…have been struck down by the courts…and the remaining crimes [] are

 acceptable bases for denying the franchise.” Id. The Supreme Court rejected this

 argument, finding that “the original enactment was motivated by a desire to discriminate

 against blacks on account of race and the section continues to this day to have that effect.

 As such, it violates equal protection under Arlington Heights.” Id. Hunter is relevant, but it

 is not dispositive. Notably, the Court in Hunter considered the very same law that had

 been adopted in 1901, and which the lower court deemed had been adopted with

 discriminatory intent.

        In Abbott v. Perez, 138 S. Ct. 2305, 2325 (2018), the Supreme Court considered

 its ruling in Hunter. In Abbott, the Supreme Court considered multiple iterations of a Texas

 districting plan. The first iteration of that plan, from 2011, had been found to be the product

 of discriminatory intent harbored by the 2011 legislature. A lower court invalidated districts

 from later 2013 plans that corresponded with the districts in the 2011 plan because there

 was “no indication that the Legislature looked to see whether any discriminatory taint

 remained in the plans.” Id. The Supreme Court reversed, finding that the lower court had

 impermissibly shifted the burden to the government. The Supreme Court explained that

 a finding of discriminatory intent as to a predecessor law is not necessarily an original sin

 that infects later iterations of a law. The Court’s analysis in Abbott suggests that a finding

 of discrimination by a predecessor law does not, by itself, establish a prima facie case of

 discriminatory intent, such that the burden shifts to the government. Instead, the


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 “historical background” of a legislative enactment is “one evidentiary source” relevant to

 the question of intent. Id. at 2325. While the past discrimination was relevant to the

 question of intent in Abbott, the Court nonetheless found that the challenger could not

 prove discriminatory intent vis a vi the 2013 policy because “the legislature did not reenact

 the plan previously passed by its 2011 Legislature. Instead, it enacted, with only very

 small changes, plans that had been developed by the Texas court pursuant to instructions

 from this Court not to incorporate any legal defects.” The Court pointed to evidence of the

 intent of the 2013 legislature, specifically, and explained that the 2013 legislature had

 adopted those particular plans because it “wanted to bring the litigation about the State’s

 districting plans to an end as expeditiously as possible[, and] the attorney general advised

 the Legislature that the best way to do this was to adopt the [2013] plans.” Id. 2327

        Distinguishing Hunter, the Court explained that “Hunter involved an equal

 protection challenge to an article of the Alabama Constitution adopted in 1901 at a

 constitutional convention avowedly dedicated to the establishment of white supremacy…

 The article was never repealed, but over the years, the list of disqualifying offenses had

 been pruned, and the State argued that what remained was facially constitutional. [] This

 Court rejected that argument because the amendments did not alter the intent with which

 the article, including the parts that remained, had been adopted.” Id. at 2325. The Court

 went on to explain that Abbott was not like Hunter, nor was it “a case in which a law

 originally enacted with discriminatory intent is later reenacted by a different legislature.”

 Instead, the 2013 Texas Legislature enacted plans “that had been developed by the


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 Texas court pursuant to instructions from this Court ‘not to incorporate…any legal

 defects.” Id.

        The case before this Court would appear to sit somewhere between Hunter and

 Abbott. And, arguably, the Court’s dicta in Abbott would appear to suggest that this case

 lies closer to Hunter than to Abbott. The question thus remains—how do Hunter and

 Abbott impact this Court’s analysis?

        Hunter instructs that neither the passage of time nor subsequent amendment to a

 law can legitimate a law that was initially enacted with discriminatory intent. Abbott

 instructs that the fact that a predecessor law may have been enacted with discriminatory

 intent does not necessarily establish that later iterations of that same law also suffer from

 discriminatory intent. We therefore have two ends of the same spectrum. In Hunter, the

 original intent was dispositive, because the law challenged was the very same law

 adopted. In Abbott, the intent was relevant, but it was ultimately outweighed by evidence

 of nondiscriminatory motives relevant to the adoption of the later-enacted law.

        Here, the discriminatory intent underpinning the adoption of the 1929 law is

 relevant to this Court’s Arlington Heights analysis. When considering the Defendant’s

 burden at this time, the 1929 history provides some support for a finding that racial

 discrimination was motivating factor in the adoption of section 1326. An adequate

 Arlington Heights analysis requires the Court to take into consideration all evidence of

 intent; and the Court’s inquiry thus does not end here.




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                    3.      Congressional Silence At Reenactment

        When the criminal reentry statute was reenacted in 1952, it was reenacted without

 substantive debate about its provisions, nor were there any statements regarding the

 reasons for the adoption. See e.g., U.S. v. Ortiz-Martinez, 557 F.2d 214, 216 (9th Cir.

 1977) ( “[a]n exhaustive reading of the congressional debate indicates that Congress was

 deeply concerned with many facets of the Immigration and Nationality Act of June 27,

 1952, but §§ 1325 and 1326 were not among the debated sections.”). The parties here

 dispute whether this Congressional silence is indicative of discriminatory motive or lack

 thereof.

        The Defendant argues that Congressional silence should be interpreted as an

 implicit adoption of the racial motivations of the 1929 law. The Defendant argues that the

 reenactment of the statute thus did not “break the chain of discriminatory causation.”

 Thus, while Hunter found that the underlying discriminatory motivations necessarily

 remained with the law, the Defendant here asks the Court to find that, even if the

 motivations did not remain connected to the law per se, Congress’ silence at the adoption

 of the new law should be viewed as an implicit adoption of the racial motivations of their

 Congressional predecessors.

        The Defendant argues that “Supreme Court case law reflects the understanding

 that questions of legislative intent with respect to a reenactment should normally be

 viewed through the lens of Congressional intent at the time of the original enactment.”

 ECF 25, p. 26. The Defendant directs the Court to United States v. Ryder, 110 U.S. 729,

 740 (1884), in which the Supreme Court instructed that “[i]t will not be inferred that the
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 legislature, in revising and consolidating the laws, intended to change their policy, unless

 such intention be clearly expressed.” The Defendant also directs the Court to Keene Corp.

 v. United States, 508 U.S. 200, 209 (1993) and State of Ga. v. Rachel, 384 U.S. 780, 802

 (1966). Keene considered whether a change “in phraseology” of a statute could be read

 to work a change in the underlying substantive law. Finding that it did not, the Court

 explained that it would not “presume that the revision worked a change in the underlying

 substantive law unless an intent to make such a change is clearly expressed.” Id. (internal

 quotation marks omitted). Likewise, in Rachel, the Court considered a decades-old

 statute that had been subsequently modified and reenacted. The Court observed that

 “[t]here is no suggestion that the modifications in the statute since 1874 were intended to

 effect any change in substance. Hence, for the purposes of the present case, we are

 dealing with the same statute that confronted the Court in the cases interpreting [the prior

 version of the statute].” While these cases deal with the substantive application of the law

 and not with the motivations underlying a law, they are instructive in that they set forth the

 proposition that courts should not presume changes in laws simply due to subsequent

 modifications or reenactments.

        The Government, unsurprisingly, disagrees, and suggests that the reenactment

 of the statue without any discussion creates a kind of blank slate. The lack of explicitly

 discriminatory rhetoric surrounding the adoption, the Government contends, creates a

 neutral, nondiscriminatory starting point for this Court’s analysis.




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        Interpreting Congressional silence as indicative of discriminatory intent, the

 Government argues, runs afoul the Supreme Court’s directive against drawing meaning

 from Congressional silence. The Government directs the Court to Kimbrough v. United

 States, 552 U.S. 85, 103 (2007), United States v. Wells, 519 U.S. 482, 496 (1997), and

 Zuber v. Allen, 396 U.S. 168, 185 (1969) in support of its contention. These cases,

 however, appear aimed more directly at the directive that silence generally is not

 appropriately interpreted to create requirements in a statute that are otherwise not explicit

 therein. For example, in Kimbrough, the court considered a statute setting forth

 mandatory minimum and maximum sentences for certain offenses. The defendant in the

 lower court was sentenced below the guideline range, but within the mandatory minimum

 and maximum range, because the judge disagreed with the guideline sentencing

 disparities between crack and powder cocaine. The government appealed, arguing that

 the sentencing courts were required to impose sentences in accordance with the crack

 cocaine/powder cocaine provisions of the sentencing guidelines. The Court declined to

 impose such a requirement, explaining that “[t]he statute says nothing about the

 appropriate sentences within these brackets, and we decline to read any implicit directive

 into that congressional silence.” In Wells, the Respondent asked the court to find that a

 statute implicitly required a showing of materiality, the Court declined to assume such a

 requirement noting “[w]e [] have at most legislative silence on the crucial statutory

 language, and we have frequently cautioned that it is at best treacherous to find in

 congressional silence alone the adoption of a controlling rule of law.” Wells, at 496.


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       These cases do suggest, however, that context is important when considering

 legislative silence. The Well’s court acknowledged that “the significance of subsequent

 congressional action or inaction necessarily varies with the circumstances.” Id. at 495.

 So, too, does the Court in Zuber instruct that context is important when interpreting

 congressional silence. See Zuber at 185 n.21 (“[Silence’s] significance is greatest when

 the area is one of traditional year-by-year supervision… Even less deference is due

 silence in the wake of unsuccessful attempts to eliminate an offending interpretation by

 amendment... Where, as in the case before us, there is no indication that a subsequent

 Congress has addressed itself to the particular problem, we are unpersuaded that silence

 is tantamount to acquiescence…”).

       While the Court finds that case law cited by the Defendant is more closely

 analogous to the case at bar, neither party has identified case law specifically on point.

 Considering the case law cited by the parties and the facts presented here, the Court




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 finds that the legislative silence at the reenactment of the statute was, at most, neutral,

 and not indicative of either discriminatory intent or nondiscriminatory intent. 1         2


                      4.        Historical Background Relevant to INA

         Both parties have identified evidence relating to the historical background at the

 time of the adoption of the 1952 Act. The Defendant argues that the relevant history

 supports a finding that racial discrimination was a motivation for the adoption of section

 1326.

         The Defendant contends that, between 1929 and 1952, there were two major

 historical events bearing on the Latinx population: the “repatriation drives” of the Great




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   The Government’s argument on this issue largely responds to the court’s ruling in Carillo-Lopez.
 The Government argues that the Carillo-Lopez court misapplied Abbott by finding that Congress,
 by remaining silent, had failed to repudiate the original racial taint of the 1929 act, thereby staining
 section 1326 with the same discriminatory intent. The Government contends that the Carillo-
 Lopez court erred in finding that the law needed to be “substantially altered” in order for a
 presumption of good faith to apply. The Government argues that, even under this improper
 framework, it succeeds.
         The Government here creates and attacks a strawman. This Court did not decide Carillo-
 Lopez, and this court is not bound to follow that decision. Nor is this Court suggesting that an
 originally discriminatory law need be “substantially altered” in order for a presumption of good
 faith to apply. Indeed, the parties’ focus on the “presumption of good faith” is misplaced. Both
 parties appear to suggest that the presumption of good faith is separate from the test set forth in
 Arlington Heights. But that is not so.
         The Arlington Heights test takes into account that congressional actions are presumed to
 be taken in good faith. It is for this very reason that burden rests with the challenger of the law to
 prove discriminatory intent. The burden does not shift to the government until the Court has
 determined, based on all the relevant direct and circumstantial evidence, that the challenger has
 established by a preponderance of the evidence that congress was motivated by a discriminatory
 purpose.
         2 The Government, in passing, argues that Congress may not have debated the bill

 because it was “uncontroversial.” ECF 28, p. 28. The Government does not explain, however, nor
 can the Court glean, how that would be relevant to the motivations for adopting the law at issue.


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 Depression and the subsequent Bracero Program. These events, the Defendant argues,

 “demonstrate the United States’ intent to preserve the white racial majority and purity by

 preventing Latinx migrants’ permanent settlement and exerting control over a temporary

 and exploitable Latinx workforce.” The Defendant has provided the Court with evidence

 that, during the Great Depression, an estimated 400,000 to 1 million Mexicans and

 Mexican-Americans were coerced and threatened into leaving the United States in

 informal raids of Mexican-American communities known as “repatriation drives.” As

 described by Dr. Kang, in ECF 78-2, in the Depression Era, Mexican and Mexican-

 American communities “became a source of resentment among nativists who sought a

 scapegoat for the economic crisis. Wrongly blamed for taking the jobs of native-born

 Americans and consuming an unfair share of the welfare benefits, the feral government,

 states, and localities used scare tactics to force undocumented Mexican immigrants into

 leaving the United States.” Indeed, in 2006, California enacted the Apology Act for the

 1930s Mexican Repatriation Program, which states that “Beginning in 1929, government

 authorities and certain private sector entities in California and throughout the United

 States undertook and aggressive program to forcibly remove persons of Mexican

 ancestry from the United States.”

       The Defendant secondarily references economic programs like the Bracero

 program, which targeted Mexican immigrant labor, and subjected Mexican workers who

 entered the country lawfully to degrading and inhumane treatment, including gassing




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 them with DDT upon entry and requiring them to strip naked for inspection. ECF 25-4, pp.

 75-78.

          The Defendant has also provided evidence related to the enforcement of the

 Undesirable Aliens Act. Dr. Kang explains that, in the decade following the law’s passage

 71% of all Mexican federal prisoners were charged with immigration crimes. ECF 78-2,

 p. 7. The Defendant has provided testimony suggesting the threat of deportation was

 used to make Mexican workers more exploitable.

          The Government argues that the historical background relating to section 1326

 “shows Congress was motivated not by racial animus but by legitimate goals of protecting

 national security, improving the employment conditions of American and foreign workers,

 maintaining positive foreign relations, improving public health, and deterring recidivist

 breaches of the country’s sovereign borders while promoting compliance with court and

 government orders.” ECF 28, p. 33. While these other motivations may have existed, the

 Government’s evidence does not disprove or dispute that underlying racial animus also

 motivated the passage of the law.

          The Government explains that, “[b]y the early 1950s, illegal labor migration had

 dramatically increased, touching all of these issues.” Id. The Government cites to the

 Special Message to Congress on the Employment of Agricultural Workers from Mexico

 (July 13, 1951). This document, however, would appear to affirm the Defendant’s

 contention that the goals of Congress at this time were at least in part focused on

 stemming Mexican immigration, in particular. Indeed, the Special Message cited by the


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 Government specifically, and exclusively, addresses Mexican immigration, stating that

 “[t]he really crucial point…is the steady stream of illegal immigrants from Mexico, the so-

 called “wetbacks,” who cross the Rio Grande or the western stretches of our border.” Id.

 The document calls for Immigration and Naturalization services “to expand its personnel

 in the southwest so that all types of enforcement work can be stepped up—including

 apprehension, investigation, and deportation of illegal immigrants.” Notably, nothing is

 said of the northern border of the country. The Government also directs the Court to

 statements from A.R. Mackey during a 1952 appropriations committee hearing, in which

 he states: [t]he best we could do with our skeleton force was to put them back across the

 river.” ECF 28, p. 33. Yet again, the “them” referred to appear to be Mexican immigrants,

 and the “river” the Rio Grande.

         Indeed, the Government argues that “President Truman approved the agricultural

 workers bill on the express assurance by Congressional leaders that supplemental

 legislation and appropriations would be passed to address the ‘influx’ of illegal Mexican

 laborers and to give INS sufficient authority and resources to step up their enforcement

 activities.”

         The Government’s evidence here does not contradict the Defendant’s evidence

 suggesting that the INA’s passage was at least in part intended to stem Mexican

 immigration, in particular. This, along with the evidence presented by the Defendant,

 provides at least some support for a finding that the passage of the Act was motivated by

 racial discrimination.


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                     5.        “Wetback Bill”


        The Defendant argues that the 1952 Congress’ debate and passage of the so-

 called “Wetback Bill” just two months before the passage of the INA reveals Congress’

 discriminatory intent. Senate Bill 1851, nicknamed the “Wetback Bill,” was passed March

 20, 1952, just a few months before the INA, by the same Congress that passed the INA.

 Pub. L. No. 82-283, 66 Stat. 26 (1952). The bill was specifically addressed to anti-

 harboring, and its stated aim was to “assist in preventing aliens from entering or remaining

 in the United States illegally.” Id.

        Testimony provided by the Defendant suggests that “the term ‘wetback’ is one that

 is racially derogatory [and] was recognized as being racially derogatory at the time.” ECF

 25-4, p. 90. “Across the period of the 1940s and 1950s, this term [was] almost

 synonymous with Mexicans.” Id. Professor O’Brien testified that “throughout the debate

 [on the bill], Mexican undocumented entrants [were] regularly referenced as wetbacks,”

 and “the debate focused on the “wetback problem,” with some legislatures suggesting

 that individuals “may be criminals because they are wetbacks.” ECF 25, p. 37. The

 Defendant argues that the very fact that the nickname of the bill included the racial slur,

 “wetback,” is suggestive of racial animus.

        The Defendant also argues that the passage of the bill “represents an illogical and

 counter-intuitive substantive irregularity leading up to the enactment of § 1326.” ECF 25,

 p. 38. While the stated aim of the bill was to prevent the harboring of illegal immigrants,

 the bill itself shielded employers from prosecution for employing undocumented

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 employees. Such protection, the Defendant argues, is inconsistent with the stated aim of

 the bill. The Defendant argues that by safeguarding the interests of agribusiness owners,

 the bill “was in fact furthering the racist compromise introduced by the 1929 Congress:

 preserving American industry’s access to cheap and exploitable Latinx labor while

 punishing the Latinx migrants who provided that labor.” The Defendant argues that the

 bill conflicted with its stated aim of preventing aliens from entering or remaining in the

 United States because it safeguarded the interests of agribusinesses by shielding

 employers from prosecution for employing undocumented employees.

        The Government responds that the bill was “non-controversial” and was a product

 of “long conferences between the State Department, the executive Department, the farm

 labor management groups … and a [] legislative council.” ECF 28, p. 34. The Government

 argues that Congressmen had varying reasons to support the bill—“none racially

 animated.” The Government points to a statement from Representative Graham that

 “[t]his bill is perfectly simple. It is to apply to all our borders and applies against every type

 of person who has the intent of concealing or harboring aliens.” Id. The Government also

 observes that “Congress considered and rejected language that would have criminalized

 only the harboring and transportation of Mexican non-citizens…” Id. The Defendant’s

 evidence also addresses this proposal, noting that “Senator George Aiken of Vermont

 question[ed] whether Congress could ‘discriminate constitutionally against the aliens of

 one particular nation,’” before noting that while the law should apply to all illegal entrants,

 he knew “…of no instances of illegal employment of Canadians.” ECF 25-2, pp. 17-18.


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        It is difficult for the Court to take seriously the argument that the bill is not indicative

 of any racial animus, when the very name of the bill included a racial slur directed toward

 Mexicans. The Court finds that, while not dispositive, the context in which Mexican

 immigration was being discussed by Congress at the time of the passage of the INA is

 relevant in considering the intent of that same congress when passing the INA

 immediately thereafter. The rhetoric surrounding Mexican immigration at the passage of

 the 1952 bill appears largely unchanged from that at the passage of the 1929 bill. While

 the bills may purport to be facially neutral, the discussion of the bills, the aims of the bill

 proponents, and the impact of these bills are all directed to and felt by Mexican and Latinx

 immigrants, specifically. The passage of the so-called “wetback bill” mere months before

 the passage of the INA provides some support for the Defendant’s claim that the

 reenactment of the unlawful reentry statute was at least in part motivated by racial

 discrimination.

                     6.        Legislative History of Section 1326

        The Defendant identifies four ways in which it contends the legislative history of

 the INA supports a finding of discriminatory intent.

        First, the Defendant argues, is “the ways in which Patrick McCarran and Francis

 Walter exerted their considerable influence over the legislative process and other

 congressmen to achieve their racist aims in relation to the [INA].” ECF 25, p. 40. Dr. Kang

 has provided testimony that Senator Pat McCarran, a cosponsor of the McCarran-Walter

 Act of 1952 (which became the INA), “defended a widespread system of labor exploitation

 premised upon racist notions of Mexican migrants as expendable farmworkers.” ECF 25-
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 3, p. 18. Kang points to evidence that, during a 1951 appropriations hearing, McCarran

 referred to both legal and undocumented Mexicans as “wetbacks,” stating that, at the

 Mexican border, “there is a flood of people who come across the boundary. They are

 called wet-backs, and they come across legally or illegally during the various harvest

 season.” Id. Indeed, in June 2020, members of U.S. Congress from Nevada wrote to the

 governor of the state requesting that the governor “replace the Patrick Anthony McCarran

 statute,” noting his “dark legacy of virulent racism, antisemitism, and xenophobia.” ECF

 25-15.

          The Government argues that the use of the term “wetback” is not necessarily

 indicative of anti-Mexican racism because “it carried a specific meaning pertaining to all

 illegal entrants in the context of a debate about the Mexican contract labor program and

 the accompanying problem that migrants were circumventing those contracts through

 illegal entry.” ECF 28, p. 38. The Government cites to a 1951 statement by Senator

 Ellender, defining “wet-back” and stating “the wetback swims the river. He comes in

 illegally, whereas others come in under contract.” Id. Likewise, the Government points to

 a statement by Rep. Cooley in 1951 that “[m]any of the so-called wetbacks have been

 exploited by selfish landlords.” While the evidence cited by the Government suggests that

 the use of the term might have ubiquitous, it does not necessarily follow that the term was

 is not indicative of animus. The evidence cited by the parties suggests that the term

 “wetback” was used by the proponents of the INA to describe both legal and illegal

 Mexican immigrants.


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         The Government does not necessarily address Senator McCarran’s history of

 racism, but it directs the Court to statements from McCarran that the law “does not contain

 one iota of racial or religious discrimination.” ECF 28, p. 38. It also points to statements

 by Rep. Walter that “[t]he equality of all races, the final repeal of all racial discrimination

 now contained in our immigration and naturalization laws, as well as the repeal of all

 discrimination based on sex, nationality, etc., are the basic features of my bill.” Id. While

 not dispositive, the racism of the bill sponsors is at least marginally relevant as evidence

 in support of the Defendant’s position here.

        The Defendant secondarily argues that discriminatory intent is indicated by “the

 fact that the Act preserved the quota system but also continued Western Hemisphere

 immigration quota-free, necessitating section 1326 to prevent Latinx migrants from

 settling permanently in the United States.” ECF 25, p. 40. The Defendant essentially

 argues that the INA perpetuated the racist goals of ensuring the southwestern states’

 access to cheap labor, while providing a means for deporting that labor when needed.

 This socio-political context, which the Court found to be relevant at the passage of the

 1929 law, appears to have continued to be relevant into the 1950s. The evidence, while

 circumstantial, that the illegal reentry statute was intended to specifically address Mexican

 immigration without impacting labor availability, is relevant to assessing the motivations

 of the congress that passed the INA, and section 1326 therein.

        Third, the Defendant directs the Court to President Truman’s veto of the McCarran

 Walter Act. Truman’s veto statement, attached to the Defendant’s motion at ECF 25-18,


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 states that “[the legislation] would perpetuate injustices of long standing against many

 other nations of the world, hamper the efforts we are making to rally the men of East and

 West alike to the cause of freedom, and intensify the repressive and inhumane aspects

 of our immigration procedures.” Truman observed that, under the bill “Our resident aliens

 would be more easily separated from homes and families under grounds of deportation,

 both new and old, which would specifically be made retroactive… To make refugees from

 oppression forever deportable on such technical grounds is shabby treatment indeed.”

 He further explained, “Many of the aspects of the bill which have been most widely

 criticized in the public debate are reaffirmations or elaborations of existing statutes or

 administrative procedures. Time and again, examination discloses that the revisions of

 existing law that would be made by the bill are intended to solidify some restrictive practice

 of our immigration authorities, or to overrule or modify some ameliorative decision of the

 Supreme Court or other Federal courts. By and large, the changes that would be made

 by the bill do not depart from the basically restrictive spirit of our existing laws—but

 intensify and reinforce it.” Congress overrode President Truman’s veto and enacted the

 law.

        The Government argues that “President Truman’s decision to veto the INA in 1952,

 and Congress’s decision to override that veto, is not further evidence that Congress

 passed Section 1326 out of racial animus as suggested by the Defendant.” ECF 28, pp.

 29-30. The Government first argues that considering the statements from President

 Truman “violates the rule against placing undue weight on an opponent’s comments.”


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 See e.g., United States v. Machic-Xiap, 552 F. Supp. 3d 1055, 1075 (D. Or. 2021) (courts

 generally should not place much weight on the statements of those who oppose the

 legislation.). The Government also argues that “the handful of senators who expressed

 problematic rhetoric during debate preceding the override of President Truman’s veto all

 voted against the veto override, ‘rendering whatever discriminatory purpose those eleven

 may have held inapplicable to the Act’s passage.’” ECF 28, p. 30. Finally, the Government

 argues that the statement is not relevant because it says “nothing about what President

 Truman thought about Section 1326 specifically.” Id. at 31.

        The Court is mindful that the statements of those opposed to the bill may not be

 indicative of the motivations of that bill. While the Court does not accept the statements

 of President Truman for their truth, it nonetheless finds that they are relevant in that they

 may have highlighted for the bill proponents the more potentially problematic aspects of

 the INA. The Government has argued that it would be unrealistic for the legislature to

 have taken an “active response” to allegations of discriminatory intent, “where the

 legislature has no notice of allegations that a law it is revisiting was motivated by racial

 animus.” ECF 28, p. 27. The Government references the Eleventh Circuit’s observation

 that, “demanding legislative engagement with a law’s history in such cases ‘establishes

 an insurmountable burden’ because it is ‘unlikely that the present day legislators would

 be aware of the past discrimination’ that supposedly taints the law.” Id. The Government

 argues that “[t]hat concern is directly implicated here, where Carillo-Lopez identified no




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 evidence that the 1952 Congress—which had experienced a 96% turnover since 1929—

 was even aware of the alleged taint to the 1929 Act.” Id.

        The evidence identified by the Defendant, both as to President Truman’s

 statements, and also as to the statements of the bill proponents, calls into question this

 argument. The evidence identified by the Defendant at the very least may be indicative

 of indifference to the racist and discriminatory motivations of the adopters of the 1929 Act

 and certain proponents of the 1952 Act.

        The Defendant finally argues that the discriminatory intent may be established

 because “the one and only substantive change to the section 1326 statute was generated

 in response to a letter providing the views of the Department of Justice that include the

 racial slur ‘wetback.’” ECF 25, p. 46 (citing 25-16). The Defendant has also provided the

 Court with a letter of support from Deputy Attorney General Gerald Peyton Ford, which

 includes use of the racially derogatory word “wetback” as well as testimony in support of

 expanding the grounds for prosecution and conviction of unlawful reentry under Section

 1326. As to the use of the term “wetback,” the Court does not import too much weight, as

 the term appears to have been included in portion of the letter quoting from the report of

 the President's Commission on Migratory Labor in American Agriculture, March 26, 1951,

 which says: “Statutory clarification on the above points will aid in taking action against the

 conveyors and receivers of the wetback. These clarifications of the statute, together with

 increased funds and personnel for enforcement, are possibly all that are needed to deal

 effectively with the smuggler and the intermediary.” The Court has already found that the


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 use of the term “wetback” may indicate intent to the extent that it reflects the context in

 which Mexican immigrants were being discussed at the time of the enactment of section

 1326. Each individual instance of the use of the derogatory term, however, does not

 provide cumulative evidence of racial animus.

        The Defendant argues that the Ford letter is further instructive because it is the

 only comment on what is now section 1326, and it sought only to expand the unlawful

 reentry statute so that venue would lie wherever a reentering immigrant was found, noting

 that the previous version of the law caused problems “in cases in which it is not possible

 for the Immigration and Naturalization Service to establish a place of reentry, and hence

 the proper venue.” ECF 25-16.

        The Government argues that the Defendant misunderstands Ford’s letter. The

 Government argues that Ford did not propose the relevant language, he instead wrote in

 response the Senate Committee’s request for the Justice Department’s views on a draft

 bill that already contained the “found in” clause. The Government further argues that the

 use of the term “wetback” is not indicative of racial animus because “[a]t most, it shows

 that the word has a complex history that carried a particularized non-racial meaning in the

 context of the Congressional immigration debate over illegal migrant labor.” ECF 28, p.

 32.

        On review of Ford’s letter, it does appear that Ford was responding to a proposed

 change to the existing law to create an offense where one is “found in” the United States,

 and further proposing that the law create an offense when one “enters, attempts to enter,


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 or is at any time found in, the United States.” ECF 25-16, p. 7. This particular distinction,

 however, is not particularly relevant here. The relevant fact is that the law was amended

 at its reenactment to expand the grounds for deportation by addressing the issue of

 jurisdiction that arose under the 1929 version of the law. The Court does not find,

 however, that this fact is indicative of discriminatory intent. Ford’s letter, and the “found

 in” addition to the statute, addressed a procedural hurdle created by the prior version of

 the law. While the proposed amendments may have made a purportedly discriminatory

 law easier to enforce, they are not themselves indicative of any racial animus. This fact

 is therefore neutral.

                     7.      Subsequent Amendments

        The Defendant argues that subsequent amendments to section 1326 “did not

 break the chain of discriminatory causation, and therefore support a finding of

 discriminatory motivation.” The Government argues that increasing a statute’s deterrent

 value is not evidence of animus, and further argues that “Congress has increased Section

 1326’s deterrent value while simultaneously eschewing forms of racial discrimination.”

 ECF 28, p. 40. Ultimately, these arguments are not relevant. Neither party appears to

 argue that the amendments provide relevant proof of intent at the time of the enactment

 of the law. See ECF 25, p. 48 (“Because the amendments of the 1980s and 1990s did

 not change § 1326 in any meaningful way, there is no need for this Court to assess these

 later amendments…”); ECF 28, p. 40 (“Defendant asserts that increasing a statute’s

 deterrent value is evidence of animus, while citing no case law for this novel proposition”.)

 Under Arlington Heights, the Defendant has the burden of establishing that the law was
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 enacted with discriminatory motivations. The Court does not find that subsequent

 amendments have any bearing on its determinations of the motivations of Congress at

 the time of enactment.

                     8.       Defendant has met his burden

        A review of all of the evidence suggests that the Defendant has met his burden of

 proving by a preponderance of the evidence that Congress was at least in part motivated

 by racial discrimination at the enactment and reenactment of the unlawful reentry statute.

 Let us revisit the evidence identified and the implications thereof. First, the evidence

 suggests that the passage of the 1929 Act was motivated in large part by discriminatory

 intent. The act was aimed at maintaining the southern states’ access to cheap Mexican

 labor while ensuring a process by which those laborers would be disallowed from

 remaining in and returning to the United States. Pursuant to Hunter and Abbott, the

 discriminatory intent of the originally-enacted law provides some evidence of

 discriminatory intent as to the reenacted law. This fact therefore weighs in favor of a

 finding of discriminatory intent.

        The fact that Congress was silent at the reenactment of the statute is not indicative

 of a discriminatory motive, nor is it indicative of a non-discriminatory motive. At most, the

 fact is neutral.

        The historical context provided for the period surrounding the 1952 reenactment is

 at least somewhat indicative of discriminatory intent. The Defendant has cited to evidence

 of the repatriation drives and the bracero drives. He also cited to evidence of anti-Mexican

 rhetoric and stereotyping. The evidence also suggests that the motivations underpinning
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 the 1929 Act—a desire to curb Mexican settlement while simultaneously ensuring that

 agribusiness had access to cheap Mexican labor—continued to motivate legislatures in

 the 1950s. So too, does the evidence identified by the Government suggest that the

 relevant immigration policies at that time were specifically intended to stem immigration

 from Mexico.

        The debate and passage of the “Wetback Bill” two months before the passage of

 the INA is also at least circumstantially indicative of discriminatory intent. The bill and

 debate thereabout reflects animus toward Mexican immigrants, and its protection of

 employers further reinforces the intent to punish Mexican immigrants themselves while

 protecting the employers exploiting them.

        The open racism of the INA proponents is also at least somewhat indicative of

 motive. There does not appear to be any dispute that Senator McCarran, himself, was a

 known and outspoken racist. His statements regarding the bill reflect animus toward both

 legal and illegal Mexican immigrants.

        Truman’s veto of the INA provides very slight additional evidence of motive

 because it would have provided lawmakers of notice of the discriminatory motivations and

 consequences of the bill as enacted.

        Attorney General Ford’s letter does not provide additional evidence of

 discriminatory motive, nor does it provide any evidence of a nondiscriminatory motive. It

 is therefore neutral. The subsequent amendments to the Act are also neutral to this court’s

 analysis.


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        The defendant here bears the burden of establishing that section 1326 was

 motivated at least in part by racial animus. The Defendant has provided evidence of such

 motivations. The Government has not identified any evidence contradicting the evidence

 set forth by the Defendant on this issue. Thus, notwithstanding that the Defendant bears

 the burden on this issue, the Defendant here has met that burden.

        C.     Would Congress Have Enacted 1326 Anyway

        Having found that the Defendant met his burden under Arlington Heights, the

 burden shifts to the Government to establish by a preponderance of the evidence that

 “the same decision would have resulted even had the impermissible purpose not been

 considered.” Arlington Heights, 429 U.S. at 270 n. 21. In the initial briefing submitted to

 this Court, neither party addressed this issue thoroughly. The Court therefore ordered

 additional briefing.

        In its supplemental brief, ECF 35, the Government argues that section 1326 would

 have been adopted even if the purportedly discriminatory motivation had not been

 considered. The Government first argues that Congress had numerous legitimate, non-

 discriminatory reasons to enact section 1326. The Government contends that the

 provision would have been adopted because it serves the valid objective of deterring

 repeated violations of U.S. immigration laws.

        The Government first points to the long-standing right of the sovereign to make

 laws governing immigration. The Government argues that “[i]mposing sanctions on those

 who repeatedly violate immigration laws and trespass territorial boundaries is a basic


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 feature of a controlled border.” ECF 35, p. 3. The thrust of section 1326, the Government

 argues, is not a unique feature of American law; a majority of countries have criminalized

 unlawful entry in some form. The Government has identified evidence (ECF 35-1) of

 similar laws in nearly every continent, including: Canada, Cuba, Chile, India, China,

 Japan, South Korea, Russia, Egypt, Ethiopia, Kenya, Morocco, the United Kingdom,

 France, Germany, Denmark, and Finland.

       The Government has identified evidence that, in 1929, Congress acknowledged

 that “deportation is not a sufficient deterrent to discourage those who seek to gain entry

 through other than regular channels,” noting the frequency with which the government “is

 compelled to resort to deportation proceedings for the same alien on several succeeding

 occasions.” ECF 35, p. 5 (citing S. rep. No. 70-1456 (Jan. 17, 1929)).

       The Defendant argues that the evidence identified by the Government is not

 relevant. The Defendant argues that “the original enactment of section 1326 was

 motivated by a desire to discriminate against Mexicans and Latin Americans on account

 of race, and it continues to have that disparate impact to this day. The existence of

 contemporary foreign immigration laws does not erase this.” ECF 37, p. 3. The

 Defendant’s argument, however, appears to advance the very position rejected by the

 Supreme Court in Abbott. Pursuant to Abbott, the Government is not required to provide

 evidence that it purged any discriminatory taint from the law. Instead, at the second prong

 of the Arlington Heights analysis, the Government bears the burden of establishing that

 the law would have been adopted even if the discriminatory intent had not been present.


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           The Defendant’s argument on this issue continues to address the first prong of the

 Arlington Heights test, which has already been resolved. In much of its supplemental

 briefing, the Defendant continues to argue that the adoption of section 1326 was

 motivated in part by discriminatory intent. The Court does not disagree, but that is not the

 end of the Court’s inquiry. The evidence identified by the Government on this issue

 provides support for its argument that the provision would have been adopted even in the

 absence of discriminatory intent, and the Defendant does not identify contradictory

 evidence.

           In his supplemental reply, the Defendant does raise an interesting issue of timing.

 The Defendant argues that the burden is on the government to establish that the same

 law would have passed at the same time even in the absence of discriminatory intent.

 However, the case law cited by the Defendant in support of this assertion is not directly

 on point. The Defendant directs the Court to footnote 21 of Arlington Heights, which

 states:

           Proof that the decision by the Village was motivated in part by a racially
           discriminatory purpose would not necessarily have required invalidation of the
           challenged decision. Such proof would, however, have shifted to the Village the
           burden of establishing that the same decision would have resulted even had the
           impermissible purpose not been considered. If this were established, the
           complaining party in a case of this kind no longer fairly could attribute the injury
           complained of to improper consideration of a discriminatory purpose. In such
           circumstances, there would be no justification for judicial interference with the
           challenged decision. But in this case respondents failed to make the required
           threshold showing.
 Arlington Heights v. Metro. Hous. Dev. Corp., 429 U.S. at 271. This footnote does not

 necessarily provide instruction regarding the issue of timing. It instead seems to merely

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 restate the general test asserted by the Court in Arlington Heights. The Defendant has

 not identified additional case law, and the Court is not aware of any other case law,

 specifically addressing the issue of timing. Nor is the Court aware of any case law

 specifically adopting or rejecting the Defendant’s proposed interpretation of the rule.

        The Court declines to adopt the bright line rule presented by the Defendant here

 simply because such an adoption doesn’t appear necessary at this time. Even assuming

 that the Government must establish that it would have adopted the law at the same time—

 here, 1952—the Government has provided evidence supporting such a finding.

        The Court first considers the Government’s Exhibit 2 to its motion, ECF 35-2, a

 report titled “The Immigration and Naturalization Systems of the United States.” The

 Report identified the problems with the then-current U.S. immigration policy and laid out

 recommendations for how to best address them. The Government argues that “the report

 provides direct evidence of those immigration concerns motivating the 82nd Congress to

 enact this law.” ECF 35, p. 6. As the Government accurately summarizes, the report

 addressed “problems related to national security and crime, the employment conditions

 of both American and foreign workers, foreign relations, public health, and deterring

 recidivist breaches of the country’s sovereign borders while promoting compliance with

 court and government orders.” Id.

        The Report addresses “deportation problems” at both the northern and southern

 U.S. border. While the report acknowledges that “the problem of illegal entries from

 Canada is not serious now, due to the fact that Canada has a fairly good economy…,” it


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 notes that “Europeans arriving in Canada who will seek to effect illegal entry into the

 United States” may confront the northern border patrol. ECF 35-2, p. 634.             In the

 “Recommendations” portion of the Report, it was recommended that the illegal reentry

 provision originally enacted in 1929 be reenacted. Here, the problems identified by the

 report, and the solution proposed, are not rooted in discriminatory animus. The report

 thus provides support for the Government’s position that the illegal reentry provision

 would have been adopted even if the discriminatory motivations had not been considered.

         The Defendant argues that the report does not support the Government’s position.

 The report, the Defendant argues, “is replete with racism, starting with the introductory

 chapter dividing the world population into various races. [] The report goes on to make

 clear       that      entering       illegally        after   being        deported        is

 principally a southern border problem.” ECF 37, p. 7. The suggestion that the problem

 was more prevalent at the southern border, however, does not itself provide evidence of

 racial animus. The report specifies why the problem is less prevalent at the northern

 border, and it also identifies the potential that the problem at the northern border might

 expand.

         The Defendant also argues that “the fact that key recommendations were excluded

 from the final Act is quite telling – with the most telling being that the final Act exempted

 employers of undocumented migrants from criminal penalties despite reports to both the

 President and Congress from the INS indicating their belief that employer penalties would

 be one of the most potent means of stopping undocumented immigration.” Id. The


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 Defendant points to statements by Senator Hubert Humphrey highlighting that the INA,

 as passed, deviated from the recommendation in the Report. This, the Defendant argues,

 provides further evidence of the discriminatory motivations of the law.

        The Defendant here essentially argues that, had Congress actually wanted to

 address immigration issues, they could have done more in the INA. The Court

 understands the argument that the Defendant is making. But, considering the specific

 question posed by part two of Arlington Heights, the Court fails to see how the argument

 addresses the issue at this stage. The Defendant again points to the discriminatory

 motivations for passing the law. The second prong of the Arlington Heights test, however,

 essentially requires the Court at this stage to ignore the discriminatory motivations and

 instead to consider only those permissible motivations. Looking only at the permissible

 motivations, the Court must determine whether the law would have been adopted

 anyway. Here, the Government has identified evidence suggesting that, notwithstanding

 the discriminatory motivations underpinning the adoption of the law, the law would have

 been adopted anyway for separate, permissible reasons.

        The Government has offered evidence that vocal opponents of national-origin

 quotas and other seemingly racially motivated aspects of the bill also supported the

 illegal-reentry provision. The Government has provided evidence that an alternative

 version of the INA was submitted by senators who opposed the perceived racism of the

 Act. This alternative version included an illegal reentry provision. See 98 Cong. Rec. 5169

 (May 14, 1952). The Court finds this evidence to be supportive of the Government’s


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 argument here. The alternative proposal would appear to address the “taint of racial

 animus” of the original statute, but it would nonetheless have kept the provision at issue

 here. This provides support for a finding that, even had discrimination not been a

 motivating factor behind the passage of the statute, the statute still would have been

 passed.

        The Government finally argues that amendments to and reenactments of section

 1326 eliminate any potential taint from racial animus and establish that Congress would

 have reached the same result independent of discriminatory intent. The Defendant argues

 that subsequent amendments and reenactments are not relevant to the Court’s inquiry

 because the Court must determine whether the subject law would have been enacted at

 the same time that it was actually enacted. As stated, supra, the authority provided by the

 Defendant on this issue is not necessarily clear. Nonetheless, the Court does not find that

 a ruling on this issue is necessary. Even if the Court only considers evidence prior to the

 adoption of the Act in 1952, the Court finds that the Government has met its burden.

                                   IV.    CONCLUSION

        Arlington Heights imposes a burden on both the government and the Defendant.

 Here, both parties have met their respective burdens. The Defendant has established that

 the illegal reentry statute was indeed adopted at least in part due to racial animus. The

 Court recognizes that, in making this finding, it is an outlier. Many courts have considered

 this issue, and many courts have come to a different conclusion. This Court, however, is




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 bound to consider the evidence presented to it in this case. Based on the evidence

 presented in this case, the Defendant has undoubtedly met his burden here.

       So too, however, has the Government met its burden. While the statute itself may

 indeed have been motivated in part by racial animus, there were also legitimate reasons

 for its enactment. The evidence establishes that, even if the discriminatory motivations

 did not exist, section 1326 still would have been adopted for those other legitimate

 reasons.

       For these reasons, the Defendant’s Motion to Dismiss, ECF 25, is DENIED.


 DATED: October 4, 2022                         BY THE COURT:




                                                _____________________________
                                                REGINA M. RODRIGUEZ
                                                United States District Judge




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